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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,
                Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CARLETON
  NELSON; CASEY KIRSCHNER;
  ALLCORE DEVELOPMENT LLC;
  FINBRIT HOLDINGS LLC; CHESHIRE               CASE NO. 1:20-CV-484-RDA-IDD
  VENTURES LLC; 2010 IRREVOCABLE
  TRUST; SIGMA REGENERATIVE
  SOLUTIONS LLC; CTBSRM, INC.;
  RODNEY ATHERTON; DEMETRIUS VON
  LACEY; RENRETS LLC,
                Defendants.

  800 HOYT LLC,
                Intervening Interpleader
                Plaintiff, Intervening
                Interpleader Counter-
                Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  BW HOLDINGS, LLC,
                Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON
  DATA SERVICES, INC.,
            Interpleader Defendants,
            Interpleader Counter-Plaintiffs.

                      PLAINTIFFS’ RESPONSE TO WATSON
              DEFENDANTS’ MOTION TO FILE DOCUMENTS UNDER SEAL
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         Pursuant to Local Civil Rule 5(C), Plaintiffs Amazon.com, Inc. and Amazon Data Services,

  Inc. (“Amazon”) respectfully submit this response to the Watson Defendants’ Motion to File

  Documents Under Seal. Dkt. 1456 (the “Motion”).

         The Motion seeks permission to file three documents temporarily under seal: two exhibits

  that were filed with the Watson Defendants’ response to Amazon’s motion to terminate the

  receivership, see Dkts. 1458-1 (Bodner Decl. Ex. B), 1458-2 (Bodner Decl. Ex. C); and an

  unredacted version of the Watson Defendants’ response to Amazon’s motion to terminate the

  receivership that quotes from, and references, the two exhibits, see Dkt. 1458 (unredacted

  response). Amazon designated the two exhibits as “Confidential” under the Protective Order

  entered in this case. See Dkt. 55. The Motion disputes that these documents should remain under

  seal. Mot. 2. To avoid burdening the Court and parties with additional litigation, Amazon does

  not object to the two exhibits, and the unredacted response that references them, being unsealed

  and placed on the public docket. Pursuant to Local Civil Rule 5(C), Amazon also respectfully

  submits a proposed order concurrently with this response.




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   Dated: December 1, 2023            Respectfully submitted,

                                      /s/ Michael R. Dziuban
                                      Elizabeth P. Papez (pro hac vice)
                                      Patrick F. Stokes (pro hac vice)
                                      Jason J. Mendro (pro hac vice)
                                      Claudia M. Barrett (pro hac vice)
                                      David W. Casazza (pro hac vice)
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                                     Counsel for Plaintiffs Amazon.com, Inc. and
                                     Amazon Data Services, Inc.




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on December 1, 2023, I electronically filed the foregoing with the

  Clerk of Court using the CM/ECF system. I will then send the document and a notification of such

  filing (NEF) to the following parties via U.S. mail to their last-known address and by email, where

  noted:



  CTBSRM, Inc.                                        2010 Irrevocable Trust
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  Arvada, CO 80002                                    Arvada, CO 80002

  Demetrius Von Lacey                                 Sigma Regenerative Solutions, LLC
  2845 Des Moines Dr.,                                6870 W 52nd Ave., Ste. 203
  Fort Collins, CO 80525                              Arvada, CO 80002




                                               s/ Michael R. Dziuban
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